                 Case 1:20-mj-00153-HKS Document 1 Filed 09/21/20 Page 1 of 7




                                   United Sta tes District Couri'
                                                                for the

                                                       District of Coliiiiibia
                                                                                                                     SEP 2 0 202C
                 United Swtes of Anicricn                         )                                     Cierk, U.S. District and
                                                                  )       Case; 1:20-mj-00184             Bankruptcy Courts
                                                                   )      Assigned to: Judge Robin M. Meriweather
           Pascale Cecile Veronique Ferrier                       )       Assign Date: 0/20/2020
                                                                  )       Description: COMPLAINT W/ ARREST WARRANT



                                               ( RI.MI.NAL C O.MPLAINT


        I. the coinpiainant in tliis case, slate that the following is tnie to the best of my knowledge and belief.
On or about tlie dalets) of           September 18, 2020                  in the ccniniy of
                     District of         Columbia             . the dcfendani(s) violated:

          Code Scc/ioii                                                       Offen.si' DrscripHon
18 U.S.C. §871                              Threats against the President of the United Stales




        This crninnal complaint is based on these facts;
See Attached Affidavit




        □ Continued on the attached sheet,




                                                                                              Compliuiuinl j signnmre.


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Attested to by the applicant in accordance with Fed, R. Crim. P. d.l by telephone.
                                                                                              ^       ^ 2020.09.20 20:45:53
                                                                                     A -■ -c/"             ' -04'00'
                 09/20/2020
                                                                                                    Judge's sigiwnire

Cnv and state;                     yVashington, D.C,                                Magistrate Judge Robin Meriweather
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                  Case 1:20-mj-00153-HKS Document 1 Filed 09/21/20 Page 2 of 7
                                                                                 Case: 1:20-mj-00184
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         fe."                                                                    Assigned
                                                                                 ^^ggjgn   to; Judge
                                                                                         Dg,g.       Robin M, Meriweather
                                                                                               0/20/2020
                                                                                 Description: COMPLAINT W/ARREST WARRANT
    SEP 2 0 202Q
Clerk, U.S. Dislricl a,        AFF4nAVI T IN SIIITOHT OF CltlMINAI. COMPLAINT
  Bankruptcy Courli-
                      I, Jonathan Preston, being duly sworn, slate as follows:


                                    INTRODUCTION AND AGENT BACKGROUND


                  1. I am a Special Agent Bomb Technician with the Federal Bureau oflnvcsligation(FBI)a.ssigncd

                      to the Washington, D.C., Field Office. I joined the FBI in 2009 as a Biologist and in 2012 as

                      a Special Agent. 1 am currently a Special Agent Bomb Technician on a squad that responds to

                      and investigates weapons of Mass destruction (WMD) and explosive precursor/bombing

                      matters, I hold a bachelor's degree in forensic biology, a Public Safety Bomb Technician

                      Certification and I have obtained extensive academic and protc\s$ional training and experience

                      on WMD and explosive matters. 1 am an investigative or law enforcement officer of the United

                      States within the meaning of Title 18, United Slates Code, Section 2510(7).

                  2. I make this affidavit in support of criminal complaint charging defendant Pascale Cecile

                      Veronique Ferrier with Threatening the President of the United Slates, in violation of Title

                      18, United Slates Code, Section 871.

                  3. Specifically, as set forth below, there is probable cause to believe that the defendant knowingly

                      and willfully threatened to take the life of. and to inflict bodily harm upon, the President of the

                      United Slates in violation of Title 18, United States Code, Section 871.

                  4. The facts set forth in this affidavit cornc from my personal involvement with this investigation,

                      interviews with witnesses, review of documents, and forensic investigation and analysis.

                  5. In submitting this affidavit, I have not included each and cvciy fact known to me about this

                      investigation. Rather, I have included only those facts I believe sufficient to establish probable

                      cause.
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                                       PROBABLE CAUSE



6. On 18 September 2020, at approximately 0900, United States Secret Service(USSS)notified
   FBI Washington Field Ofilce ofa letter addressed to"Donald J Tnimp,The White House, 1600
   Pennsylvania Avenue NW,Washington DC 20500 USA." This letter was post-marked from
   Canada and traveled interstate via U.S. postal service and arrived at the White House Mail
   Sorting Facility in Washington, D.C. Upon being reviewed by USSS personnel at the facility
   on approximately September 18, 2020, the FBI Washington Field office was contacted and
    responded to the facility. Review of the letter revealed it contained a white, powdery material
    and stated the following:

        a. "...I found a new name for you: "The Ugly Tyrant Clown" I hope you like it. You

            ruin USA and lead them to disaster. I have US cousins, then I don't want the next 4

            years with you as president. Give up and remove your application for this election. So

            I made a "Special Gift" for you to make a decision. This gifi is in this letter. If it

            doesn't work, I'll find better recipe for another poison, or 1 might use my gun when

            I'll be able to come. Enjoy! FREE REBEL SPIRIT".

        b. Based upon my training and experience, I know Ricin to be an extremely toxic plant

            protein derived from seeds ofthe castor bean plant(Ricinus Communus). Ricin causes

            toxicity by inhibiting the formation ofproteins in the exposed individual. The material

            found in the letter was field tested by USSS personnel and tested as presumptive

            positive for Ricin. This field test presumptive positive result was confirmed via

            extensive laboratory testing by the National Bioforensic Analysis Center in Frederick,

            Maryland, which found that the substance tested positive for Ricin toxin.

7. While submitting the letter for forensic examination, Washington Field Office was informed

   of the existence of six additional letters that appeared similar from other FBI field offices in

   Texas. The letters from the other FBI field offices were received on September 15-16, 2020,
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   and also had cancellation stamps indicating mailing from Canada, contained a powdery

   substance, and were addressed to individuals working at penitentiaries and detention centers in

   Texas. The letters contained similar language to the letter sent to the President and were

   addressed to individuals affiliated with facilities at which the defendant had been housed while

   incarcerated in Texas in 2019. Each of the letters eontained the statement refereneing "if it

   doesn't work I will find a better recipe"and all contained similar material to the material found

   in the letter received at the White House Mail Soiling Facility in Washington, D.C.

8. Subsequent investigation of individuals with Canadian connections recently arrested and

   incarcerated in the FBI San Antonio area of responsibility revealed an individual by the name

   of Paseale Ferrier who had been arrested by Mission Police Department (Mission, TX) on

   March 13, 2019, for weapons possession and was transferred into Immigration and Customs

   Enforcement(ICE)custody.

9. A comparison of the letters received in San Antonio/Houston and Washington, D.C. showed

   multiple similarities. Further investigation ofthe letters revealed enough similarities between

   the letters to conclude the Texas and Washington DC letters were sent by the same individual.

   Similarities included a signature block of"FREE REBEL SPIRIT* and matching language in

   each letter similar to "special gift for you," and "if it doesn't work I will find a better recipe for

   another poison or I might use my gun when I'll be able to come" in some of the San Antonio

   letters and the letter in Washington, D.C. Forensic examinations conducted at the National

   Bioforensie Analysis Center(NBFAC) of all letters received in Texas and Washington, DC

   revealed latent fingerprints on four (4) of the letters recovered in San Antonio. Manual

   examinations ofthe recovered fingerprints revealed a match to fingerprints in FBI databases to

   the defendant. Investigation ofthe defendant's social media platforms revealed FaceBook and

   Twitter postings on or about September 9,2020, which referenced "#killTrump" and discussed

    wording such as"Ugly Clown Tyrant"(which is nearly the same wording used in the letter sent

   to the President). Investigations of these postings and 2702d returns from Twitter and
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   Facebook     revealed   the   registration   email   address   as   Google    email    address

   Pascale.FeiTier@gmail.com.


10. On September 20,2020,the defendant attempted to enter the United States at the Peace Bridge

   border crossing in Buffalo,New York,from Canada,and was detained by Customs and Border

   Patrol Officers (CBP). The defendant made statements to CBP Officers referencing "being

    wanted by the FBI for the ricin letters," and was found to be in possession ofa loaded firearm

   in her waistband, as well as a knife.
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         I 1 . leased upon my know ledge, Iraining and experience, and the facts set forth in this affidav it, I

             rcspectfiilh' submit there is probable cause to beiieee thai die defendant committed 'flireats

             Against the i're.sideni, in violation of Title IK, I'niied Slates ("ode. Section 871.




                                                            Respectfully submitted.




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                                                            Special .Agent liomb Technician

                                                            l erleral IKireau of Investigation




Subseribed and sworn |nir.suant to I'cd. R.("rim. P. 4. 1
on September 20, 2020

                                    2020.09.20 20:48:30
                                    -04'00'

The Honorable Robin .M. .Vleriwcathcr

United States Maszisirate Jiidye
                        Case 1:20-mj-00153-HKS Document 1 Filed 09/21/20 Page 7 of 7


AO -142 (Rev 01/<J9) Arrest Warrani



                                            United States District Court
                                                                      for the

                                                               District of Columbia
                                                                                                                  SEP 2 0 2020
                      United States of America                                                              Clerk, U.S. Dislricf and
                                   V.                                                                         Bankruptcy Courts
                                                                                Case: 1:20-mi-00184
              Pascale Ceclle Veronlque Ferrier                                  Assigned to; Judge Robin M. Meriweattier
                                                                                Assign Date: 9/20/2020
                                                                                Description: COMPLAINT W/ ARREST WARRANT
                             l)f/ciiJ(inl


                                                          ARREST WARRANT

To:       Any authorized law enforcement olTicer


          YOU ARE COMMAiNDED to arrest and bring before a United States magistrate judge without unnecessaiy delay
A/rm/c ofperson to be arrcstei/f        Pascale Ceclle Veronique Ferrier
who is accused of an offense or violation based on the following document filed with the court:

□ Indictment               O Superseding Indictment             □ Information       □ Superseding Information            Sf Complaint
□ Probation Violation Petition                  □ Supervised Release Violation Petition      G Violation Notice          □ Order of the Court

This offense is briefly described as follows:
  18 U.S.C. Section 871 (Threats Against the President of the United States)




                                                                                                             2020.09.20
Date:     09/20/2020                                                                                         20:48:03 -04'00'
                                                                                              Issuing o/jlcer's signature


City and state:         Washington. DC                                             Robin M. Meriweather, U,S. Magistrate Judge
                                                                                                Printed name and title



                                                                     Return


          This warrant was received on (date)                              , and the person was arrested on (date}
at (city and state)


Date:
                                                                                             Arresting officer '.v signature



                                                                                                Printed name and title
